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                IN THE UNITED STATES DISTRICT COURT


                FOR THE SOUTHERN DISTRICT OF GEORGIA

                                                          U. S.          COf'IT
                            SAVANNAH DIVISION             Souiheri)          of Qa.
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THE UNITED STATES OF AMERICA,                                                  liiL.
                                                                        rk
               Plaintiff,

                V.                            4:17CR263


LORENZO GRAHAM,


               Defendant,




                                  ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



                             7^
     SO ORDERED, this a?          day of February, 2018




                                  UNITED STATES MAGISTRATE JUDGE
                                  SOUTHERN DISTRICT OF GEORGIA
